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                           IN THE UNITED STATES DISTRICT COURT
                              FOR SOUTHERN DISTRICT OF OHIO,
                                     EASTERN DIVISION

 JAMES J. ENGLAND,                                  Case No. 2:19-cv-1049

                           Plaintiff,               Judge Sarah D. Morrison

           v.                                       Magistrate Judge Kimberly A. Jolson

 CITY OF COLUMBUS, OHIO, et al..,
                                                     SIPULATION FOR AND EXTENSION OF
                                                          TIME TO MOVE OR PLEAD
                           Defendants.


        Pursuant to Federal Rules of Civil Procedure 6(b)(1)(A) and Southern District of Ohio

Civil Rule 6.1(a), the parties hereto stipulate to extension of time in for Defendants to move or

plead in response to Plaintiff’s complaint. On August 12 2019, Plaintiff requested a waiver service

from Defendants, and Defendant waived service on August 14, 2019. See WAIVERS (R.5 #58–62).

Pursuant to Fed. R. Civ. P. 12(a)(1)(A)(ii), the current deadline for Defendants to move or plead

in response to Plaintiff’s complaint is October 11, 2019. With this stipulation, Defendants’

responsive pleading will be due on or before November 1, 2019. No prior stipulate extensions

have been requested by—or granted to—any party, and this stipulated extension does not exceed

21 days.

 Respectfully submitted,                           Respectfully submitted,
 /s/ C.C.A*                                        /s/ Andrew D.M. Miller
 Jennifer L. Routte (0085204)                      Andrew D.M. Miller (0074515)
 C. Christopher Alley (0086182)                    Assistant City Attorney
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 Attorneys for Plaintiff

 * By ADMM per email authority granted 10/11/19.
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on October 11, 2019, I electronically filed the foregoing with the

Clerk of this Court by using the Court’s CM/ECF System. Copies will be served upon counsel of

record by, and may be obtained through, the Court's CM/ECF System.


                                            /s/ Andrew D.M. Miller
                                            Andrew D.M. Miller (0074515)




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